  Case
     Case
       2:18-mj-01881-DUTY
           2:18-mj-01881-DUTY
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                                        3 Filed2 11/27/18
                                                 *SEALED*Page
                                                           Filed
                                                              1 of
                                                                 07/20/18
                                                                   10 PagePage
                                                                           ID #:257
                                                                                1 of 10
                                     Page ID #:129

                               UNITED STATES DISTRICT COURT
                                                            for the
                                               Central District of California

                                                                 )
             In the Matter of the Search of:                     )
        Information associated with account identified as                   Case No. 2:18-MJ-1881
 ray.sw.chan@gmail.com that is within the possession, custody,
                                                                 )
                   or control of Google, Inc.                    )
                                                                 )
                                                                 )

                                   WARRANT PURSUANT TO 18 U.S.C. § 2703
To:    Any Authorized Law Enforcement Officer
An application by a federal law enforcement officer requests the production and search of the following data:
       See Attachment A
The data to be produced and searched, described above, are believed to contain the following:
       See Attachment B
I find that the affidavit, or any recorded testimony, establishes probable cause to produce and search the data
described in Attachment A, and to seize the data described in Attachment B. Such affidavit is incorporated
herein by reference.
AUTHORIZED LAW ENFORCEMENT OFFICER/S IS/ARE HEREBY COMMANDED to serve this
warrant on Google, Inc. in the daytime, between the hours of 6:00 a.m. and 10:00 p.m., within 14 days from the
date of its issuance.
GOOGLE, INC. IS HEREBY COMMANDED to produce the information described in Attachment A within
10 calendar days of the date of service of this order. GOOGLE, INC. IS FURTHER COMMANDED to
comply with the further orders set forth in Attachment B, and, pursuant to 18 U.S.C. § 2705(b), shall not notify
any person, including the subscriber(s) of the account/s identified in Attachment A, of the existence of this
warrant.
The officer executing this warrant, or an officer present during the execution, shall prepare an inventory as
required by law, and shall promptly return this warrant and the inventory to the United States Magistrate Judge
on duty at the time of the return through a filing with the Clerk’s Office.
AUTHORIZED LAW ENFORCEMENT OFFICER/S IS/ARE FURTHER COMMANDED to perform
the search of the data provided by Google, Inc. pursuant to the procedures set forth in Attachment B.

 Date and time issued: _______________________
                         7/20/2018 @ 1:18 pm                          /S/       ALEXANDER F. MACKINNON
                                                                                      Judge’s signature
 City and State: ____________________________
                  Los Angeles, CA                                     Alexander F. MacKinnon, U.S. Magistrate Judge
                                                                                    Printed name and title

AUSA: Veronica Dragalin (x0647)
Case 2:18-mj-01881-DUTY Document 3 Filed 11/27/18 Page 2 of 10 Page ID #:258
Case
   Case
     2:18-mj-01881-DUTY
         2:18-mj-01881-DUTY
                         *SEALED*
                             Document
                                  Document
                                      3 Filed2 11/27/18
                                               *SEALED*Page
                                                         Filed
                                                            3 of
                                                               07/20/18
                                                                 10 PagePage
                                                                         ID #:259
                                                                              3 of 10
                                   Page ID #:131



                                   ATTACHMENT A

                             PROPERTY TO BE SEARCHED

         This warrant applies to information associated with the

   account identified as ray.sw.chan@gmail.com and being used by

   RAYMOND CHAN, that is within the possession, custody, or control

   of Google, Inc., a company that accepts service of legal process

   at its headquarters located in Mountain View, California,

   regardless of where such information is stored, held, or

   maintained.
Case
   Case
     2:18-mj-01881-DUTY
         2:18-mj-01881-DUTY
                         *SEALED*
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                                  Document
                                      3 Filed2 11/27/18
                                               *SEALED*Page
                                                         Filed
                                                            4 of
                                                               07/20/18
                                                                 10 PagePage
                                                                         ID #:260
                                                                              4 of 10
                                   Page ID #:132



                                   ATTACHMENT B

                                ITEMS TO BE SEIZED

    I.   SEARCH PROCEDURE

         1.    The search warrant will be presented to personnel of

   Google, Inc. (the “PROVIDER”), who will be directed to isolate

   the information described in Section II below.

         2.    To minimize any disruption of service to third

   parties, the PROVIDER’s employees and/or law enforcement

   personnel trained in the operation of computers will create an

   exact duplicate of the information described in Section II

   below.

         3.    The PROVIDER’s employees will provide in electronic

   form the exact duplicate of the information described in Section

   II below to the law enforcement personnel specified below in

   Section IV.

         4.    With respect to contents of wire and electronic

   communications produced by the PROVIDER (hereafter, “content

   records,” see Section II.10.a below), law enforcement agents

   and/or individuals assisting law enforcement and acting at their

   direction (the “search team”) will examine such content records

   pursuant to search procedures specifically designed to identify

   items to be seized under this warrant.           The search shall extract

   and seize only the specific items to be seized under this

   warrant (see Section III below).           The search team may use

   forensic examination and searching tools, such as “EnCase” and

   “FTK” (Forensic Tool Kit), which tools may use hashing and other

   sophisticated techniques.


                                          i
Case
   Case
     2:18-mj-01881-DUTY
         2:18-mj-01881-DUTY
                         *SEALED*
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                                  Document
                                      3 Filed2 11/27/18
                                               *SEALED*Page
                                                         Filed
                                                            5 of
                                                               07/20/18
                                                                 10 PagePage
                                                                         ID #:261
                                                                              5 of 10
                                   Page ID #:133



         5.    If the search team encounters immediately apparent

   contraband or other evidence of a crime outside the scope of the

   items to be seized, the team shall immediately discontinue its

   search pending further order of the Court and shall make and

   retain notes detailing how the contraband or other evidence of a

   crime was encountered, including how it was immediately apparent

   contraband or evidence of a crime.

         6.     The search team will complete its search of the

   content records as soon as is practicable but not to exceed 120

   days from the date of receipt from the PROVIDER of the response

   to this warrant.      The government will not search the content

   records beyond this 120-day period without first obtaining an

   extension of time order from the Court.

         7.     Once the search team has completed its review of the

   content records and created copies of the items seized pursuant

   to the warrant, the original production from the PROVIDER will

   be sealed -- and preserved by the search team for authenticity

   and chain of custody purposes -- until further order of the

   Court.     Thereafter, the search team will not access the data
   from the sealed original production which fell outside the scope

   of the items to be seized absent further order of the Court.

         8.     The special procedures relating to digital data found

   in this warrant govern only the search of digital data pursuant

   to the authority conferred by this warrant and do not apply to

   any search of digital data pursuant to any other court order.

         9.     Pursuant to 18 U.S.C. § 2703(g) the presence of an

   agent is not required for service or execution of this warrant.


                                         ii
Case
   Case
     2:18-mj-01881-DUTY
         2:18-mj-01881-DUTY
                         *SEALED*
                             Document
                                  Document
                                      3 Filed2 11/27/18
                                               *SEALED*Page
                                                         Filed
                                                            6 of
                                                               07/20/18
                                                                 10 PagePage
                                                                         ID #:262
                                                                              6 of 10
                                   Page ID #:134



   II.   INFORMATION TO BE DISCLOSED BY THE PROVIDER

         10.   To the extent that the information described in

   Attachments A is within the possession, custody, or control of

   the PROVIDER, including any information that has been deleted

   but is still available to the PROVIDER, or has been preserved

   pursuant to a request made under 18 U.S.C. § 2703(f), the

   PROVIDER is required to disclose the following information to

   the government for the TARGET ACCOUNT listed in Attachment A:

               a.    All contents of all wire and electronic

   communications, including services such as Gmail, associated

   with ray.sw.chan@gmail.com, and limited to that which occurred

   on or after May 24, 2018,1 and all contents associated with

   ray.sw.chan@gmail.com, and limited to that which occurred on or

   after April 1, 2013, including:

                     i.    All records (including content records and

   the stored application data) pertaining to the Google Document

   publicly available at

   https://docs.google.com/document/d/1PxaIuhLMVwuJEbWJ4OpUB2i1kC3i

   ougbLTEwjNHPjbc/edit?usp=sharing_eil&ts=5adce9d1, including logs

   of accounts that accessed or edited the document;

                     ii.   All records (including content records and

   the stored application data) pertaining to any Google service


        1 To the extent it is not reasonably feasible for the
   PROVIDER to restrict any categories of records based on this
   date restriction (for example, because a date filter is not
   available for such data), the PROVIDER shall disclose those
   records in its possession at the time the warrant is served upon
   it.



                                         iii
Case
   Case
     2:18-mj-01881-DUTY
         2:18-mj-01881-DUTY
                         *SEALED*
                             Document
                                  Document
                                      3 Filed2 11/27/18
                                               *SEALED*Page
                                                         Filed
                                                            7 of
                                                               07/20/18
                                                                 10 PagePage
                                                                         ID #:263
                                                                              7 of 10
                                   Page ID #:135



   associated with the TARGET ACCOUNT, including services such as

   Android, Google Play and Android Market (including payment

   information), Google Groups, use of Google Chrome or Google

   Chrome Sync (including the content of the data that is synced

   between different devices and the identity of such devices),

   Google Talk, Google Calendar, Google Docs, Google Drive, Google

   Services, Google+, Has Google Profile, Has Plusone, Google

   Photos (formerly Picasa), Tasks, iGoogle, Web History, Google

   Talk, Google Voice, and Hangouts;

                     iii. All records (including content records and

   the stored application data) associated with the TARGET ACCOUNT

   pertaining to Location History and Google Maps, including custom

   maps, changes and edits to public places, starred places,

   private labels of locations, and saved locations.

               b.    All other records and information, including:

                     i.    All records related to authenticating the

   user of the TARGET ACCOUNT, including use of two-factor

   authentication or App passwords used to allow access via a

   mobile device and the identity of those devices accessing the
   TARGET ACCOUNT;

                     ii.   All records relating to any settings applied

   by the user of the TARGET ACCOUNT to cause a message to expire,

   to require a recipient to insert a password value to read a

   message, to control a recipient’s ability to forward a message,

   or to retract access to a message already sent.

   III. INFORMATION TO BE SEIZED BY THE GOVERNMENT




                                         iv
Case
   Case
     2:18-mj-01881-DUTY
         2:18-mj-01881-DUTY
                         *SEALED*
                             Document
                                  Document
                                      3 Filed2 11/27/18
                                               *SEALED*Page
                                                         Filed
                                                            8 of
                                                               07/20/18
                                                                 10 PagePage
                                                                         ID #:264
                                                                              8 of 10
                                   Page ID #:136



         11.   For the TARGET ACCOUNT listed in Attachment A, the

   search team may seize:

               a.    All information described above in Section

   II.10.a that constitutes evidence, contraband, fruits, or

   instrumentalities of violations of 18 U.S.C. §§ 371

   (Conspiracy), 666 (Bribery and Kickbacks Concerning Federal

   Funds), 1341, 1343, and 1346 (Deprivation of Honest Services),

   1951 (Extortion), and 1956 (Money Laundering), and 31 U.S.C.

   § 5324(a)(3) (Structuring a Financial Transaction to Evade a

   Reporting Obligation), those violations involving RAYMOND CHAN,

   JOSE HUIZAR, GEORGE ESPARZA, WEI HUANG, RICKY ZHENG, GEORGE

   CHIANG, DERON WILLIAMS, FUER YUAN, YAN YAN, CURREN PRICE, JOEL

   JACINTO, AVE JACINTO, and SHAWN KUK, occurring after April 1,

   2013, namely:

                     i.    Information relating to who created,

   accessed, or used the TARGET ACCOUNT, including records about

   their identities and whereabouts.

                     ii.   All records relating to JOSE HUIZAR, GEORGE

   ESPARZA, WEI HUANG, RICKY ZHENG, GEORGE CHIANG, DERON WILLIAMS,
   YAN YAN, CURREN PRICE, MASON SITU, LINCOLN LEE, JOEL JACINTO,

   AVE JACINTO, SHAWN KUK, SHENZHEN NEW WORLD GROUP, SHENZHEN NEW

   WORLD INVESTMENT, INC., HAZENS, the LA Hotel Downtown, the

   Sheraton Universal Hotel, and Luxe Hotel.

                     iii. All records relating to Las Vegas, including

   any receipts, reservation confirmations, flight itineraries,

   photographs, and bank records relating to Southwest Airlines,

   the Palazzo, Caesar’s Palace, the Wynn, and the Cosmopolitan.


                                          v
Case
   Case
     2:18-mj-01881-DUTY
         2:18-mj-01881-DUTY
                         *SEALED*
                             Document
                                  Document
                                      3 Filed2 11/27/18
                                               *SEALED*Page
                                                         Filed
                                                            9 of
                                                               07/20/18
                                                                 10 PagePage
                                                                         ID #:265
                                                                              9 of 10
                                   Page ID #:137



                     iv.     All financial records relating to JOSE

   HUIZAR, his mother (ISIDRA HUIZAR), and his brother (SALVADOR

   HUIZAR), and their respective bank accounts including, but not

   limited to, those ending in #0843, #2634, #3900 and #3208.

                     v.      All records relating to development projects

   in and around Los Angeles that relate to foreign investors to

   include, but not limited to, HAZENS, GREENLAND, OCEANWIDE and

   other foreign investors not yet identified.

                     vi.     All records relating to Salesian High School

   Gala, Proposition HHH, El Grito, and other fundraising

   expeditions/campaign contributions.

                     vii. All records relating to projects in and

   around Los Angeles, in which HUIZAR or HUIZAR’s staff, KUK,

   ESPARZA, JACINTO, CHAN, CHIANG, or WILLIAMS assisted in

   acquiring permits, licenses or other official city processes.

                     viii.        All records related to meetings, event

   invitations, dinners, fundraising events, and community events

   including radar screens.

                     ix.     All records related to La Vue, Ho Kee Café,
   and other meeting locations being utilized by the violators.

               b.    All records and information described above in

   Section II.10.b.

   IV.   PROVIDER PROCEDURES

         12.   IT IS ORDERED that the PROVIDER shall deliver the

   information set forth in Section II within 10 days of the

   service of this warrant.        The PROVIDER shall send such




                                         vi
Case
   Case
     2:18-mj-01881-DUTY
        2:18-mj-01881-DUTY
                        *SEALED*
                            Document
                                 Document
                                     3 Filed211/27/18
                                              *SEALED*Page
                                                        Filed
                                                           10 07/20/18
                                                              of 10 Page
                                                                       Page
                                                                         ID #:266
                                                                            10 of 10
                                   Page ID #:138



    information to:


               SA Andrew Civetti
               11000 Wilshire Blvd.
               Los Angeles, CA 90024
               310-996-4564 (Phone) 310-996-3764 (Fax)
               ACivetti@fbi.gov


         13.   IT IS FURTHER ORDERED that the PROVIDER shall provide

    the name and contact information for all employees who conduct

    the search and produce the records responsive to this warrant.

         14.   IT IS FURTHER ORDERED, pursuant to 18 U.S.C.

    § 2705(b), that the PROVIDER shall not notify any person,

    including the subscriber(s) of the account identified in

    Attachment A, of the existence of the warrant, until further

    order of the Court, until written notice is provided by the

    United States Attorney’s Office that nondisclosure is no longer

    required, or until one year from the date the PROVIDER complies

    with this warrant or such later date as may be set by the Court

    upon application for an extension by the United States.            Upon

    expiration of this order, at least ten business days prior to

    disclosing the existence of the warrant, the PROVIDER shall

    notify the agent identified in paragraph 12 above of its intent

    to so notify.




                                        vii
